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   Supreme Court of Florida
                 Certificate of Good Standing
I, JOHN A. TOMASINO, Clerk of the Supreme Court of the State of Florida, do

hereby certify that


                                 JIANYIN LIU


was admitted as an attorney and counselor entitled to practice law in all the

Courts of the State of Florida on APRIL 19, 2018, is presently in good standing,

and that the private and professional character of the attorney appear to be good.




                                      WITNESS my hand and the Seal of the

                                      Supreme Court of Florida at Tallahassee,

                                      the Capital, this MAY 8, 2025.


                                      ____________________________________
                                      Clerk of the Supreme Court of Florida
